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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

NANCY ESAW,

                    Plaintiff,
                                                 No. 17-cv-06295
             v.
                                                 Judge John F. Kness
COMCAST CABLE
COMMUNICATIONS MANAGEMENT,
LLC,

                    Defendant.

                    MEMORANDUM OPINION AND ORDER

      Before the Court is Defendant’s Motion for Summary Judgment. (Dkt. 81.)

Plaintiff Nancy Esaw is a Black woman over the age of forty who worked for

Defendant Comcast Cable Communications Management, LLC from April 2004

through December 2015. Plaintiff argues that Defendant wrongfully terminated

Plaintiff because of unlawful age and race discrimination and in retaliation for filing

complaints. Defendant now moves for summary judgment on all counts, arguing that

it terminated Plaintiff because of her dissatisfactory job performance, particularly

because of an incident when she treated a customer unprofessionally on a phone call.

      Defendant’s motion for summary judgment is granted in its entirety. As

explained below, Plaintiff has failed to meet her burden to show a triable issue on

whether she met her former employer’s legitimate expectations and whether her race

and age played a role in her dismissal. On the contrary, the evidence developed in

discovery unambiguously reflects that Plaintiff was terminated because of her
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performance deficiencies and generally hostile and disruptive attitude toward

coworkers, supervisors, and customers of Defendant. Accordingly, Defendant is

entitled to judgment in its favor on all counts.

I.       BACKGROUND

         A.    The Parties.

         Plaintiff Nancy Esaw is a Black female who was 56 years old in the relevant

year of 2015. (Dkt. 91 ¶ 1.) Plaintiff was employed by Defendant Comcast Cable

Communications Management, LLC from April 2004 through December 2015. (Id.

¶¶ 1–2.) Defendant, a large cable TV and internet service provider, hired Plaintiff to

work as a Customer Account Executive at an Illinois call center. (Id. ¶ 4.) From 2007

through early 2014, Plaintiff transitioned to a Residential Account Representative

position in a different Illinois office until that position was eliminated after a

company reorganization. (Id. ¶¶ 4–5.) Plaintiff’s title changed to Community Account

Representative (“CAR”), and she held that position throughout the remainder of her

employment with Defendant. (Id. ¶ 5.) As a CAR, Plaintiff was responsible for several

properties with multiple residential units such as apartments and condominiums.

(Id. ¶ 6.) Given that Plaintiff’s primary responsibility was to increase subscribers

within these properties, she frequently visited them. (Id.)

         Over the course of Plaintiff’s employment, Plaintiff was required to maintain

a standard of conduct in accordance with Defendant’s Employee Handbook and Code

of Ethics and Business Conduct (the “Handbook”). (Id. ¶ 11.) The Handbook required

Plaintiff to treat customers courteously and efficiently. (Id. ¶ 12.) The Handbook also




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provided several examples of inappropriate misconduct: unprofessional or rude

treatment of customers, insubordinate interactions with supervisors, and the use of

profanity or other inappropriate tones. (Id. ¶¶ 12–13.) Plaintiff acknowledged and

agreed to these terms during her employment with Defendant. (Id. ¶¶ 14–15.)

       Defendant also maintained a Corrective Action Policy designating levels of

corrective action when needed; Plaintiff was subject to this policy during her

employment. (Dkt. 102 ¶¶ 86–87.) If needed, corrective action under the policy was

intended to “bring areas of required improvement to the employee’s attention in order

to change behavior and improve performance.” (Id. ¶ 86.) Although Defendant’s

Corrective Action Policy designated progressive levels of discipline as standard

practice, Defendant reserved the right to break that standard practice and accelerate

discipline if an employee’s behavior was “severe” and required “immediate removal.”

(Id. ¶ 88.)

       B.     Plaintiff’s Performance Evaluations and Behavioral Problems.

       From 2012 to 2015, Plaintiff received corrective actions from three separate

supervisors, including two written warnings, two verbal warnings, and one coaching

memorandum. 1 (Id. ¶ 16.) Plaintiff disputes that these corrective actions “accurately

represent the true events that transpired” but agrees that she received them and was

not demoted or fired as a result of receiving these warnings. (Id. ¶¶ 16–17.)



   1 Plaintiff objects to these statements as irrelevant, arguing that these warnings “had

nothing to do with Plaintiff’s termination.” (Dkt. 91 ¶ 16.) But Defendant’s motion for
summary judgment relies in part on the argument that Plaintiff was not meeting Defendant’s
legitimate expectations. (See Dkt. 82 at 6–7; Dkt. 101 at 5–6.) Warnings that Plaintiff
received during the course of her employment are thus directly relevant to this argument.


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       Each of Plaintiff’s performance evaluations for the years 2011 through 2014

rated various categories of Plaintiff’s job performance as “needs improvement.” In

Plaintiff’s 2011 performance evaluation, Plaintiff’s supervisor stated that she wanted

Plaintiff to “work on self-development in communication and interpersonal

development and increase the quantity of property visits and events.” (Id. ¶ 19.)

Plaintiff’s 2012 evaluation similarly instructed Plaintiff to “develop building a

rapport with others” and to “be more open to coaching.” (Id. ¶ 20.) After receiving

some customer complaints in 2013, Plaintiff’s 2013 performance evaluation

instructed Plaintiff to “continue to work on developmental areas” of communication,

interpersonal effectiveness, and customer focus. (Id. ¶ 21.) And because Plaintiff’s

supervisor had “received many complaints from other departments [and] teammates”

about Plaintiff” (id. ¶ 24), Plaintiff’s 2014 evaluation also instructed Plaintiff to

“improve on her interpersonal skills.” Plaintiff’s supervisor stated that she considered

Plaintiff’s communication style and tone to be “unprofessional, inappropriate, and

disrespectful.” (Id.) Plaintiff agrees that these performance evaluations exist, but she

disputes that the evaluations accurately reflect her work performance during the

relevant time periods. 2 (Id. ¶¶ 19–21, 24.)



   2 Plaintiff also argues that these statements about her performance evaluations should

be disregarded because Defendant is seeking to use them as inadmissible character evidence
under Rule 404(b) of the Federal Rules of Evidence, and because Defendant has failed to
produce authentic copies of each evaluation as required by Rule 901 of the Federal Rules of
Evidence. (Dkt. 91 ¶¶ 19–21, 24.) As an initial matter, because Local Rule 56.1 statements
“are not appropriate vehicles for moving for [evidentiary] relief,” the Court disregards any
evidentiary arguments Plaintiff makes in her Local Rule 56.1 statement. See Samuels v.
Schneider Nat’l Carriers, No. 15 C 8468, 2018 WL 4590329, at *4 n.2 (N.D. Ill. Sept. 25, 2018).
Even if Plaintiff’s approach was procedurally appropriate, Defendant does not cite Plaintiff’s
performance evaluations and disciplinary actions to make a statement on Plaintiff’s


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       During these years, Plaintiff also received various warnings and reprimands

from her supervisors in response to inappropriate emails Plaintiff had sent, as well

as other unprofessional behavior. In April 2013, for example, Plaintiff emailed her

manager the following remarkably impudent demand: “Please be prepared to discuss

at today’s meeting. For some reason you have many excuses and no results.” (Id.

¶ 22.) Plaintiff’s manager responded with a request that Plaintiff refrain from using

such “curt demeanor” with her supervisors. (Id.) In January 2014, Plaintiff sent an

email to several managers concerning the job performance of another employee whom

Plaintiff did not supervise, to which Plaintiff’s manager again responded with an

emailed reprimand. (Id. ¶¶ 26–27.)

       There are other examples of Plaintiff’s poor performance. In November 2014,

Plaintiff’s manager met with Plaintiff to “give her coaching on her behavior and

communication style” after Plaintiff spoke to the manager with a “very rude tone

[and] attitude.” (Id. ¶ 30.) In February 2015, Plaintiff participated in a ride-along

training with other CARs in which she “refused to fully participate,” including

refusing to get out of the van at customer sites and leaving the ride-along early. (Id.

¶ 32.) Plaintiff received a verbal warning as a result of her behavior during the ride-

along. (Id. ¶ 35.) During a CAR team meeting in September 2015, Plaintiff “was very




propensity to act in a certain manner or in accordance with a particular trait of character.
Defendant, rather, relies on these facts to show Plaintiff’s employment history with
Defendant and the history of behavioral problems she experienced. See. Fed. R. Evid.
404(a)(1). As to Plaintiff’s authentication arguments, the authenticity of a piece of evidence
such as Plaintiff’s performance evaluations may be proved in ways other than presenting the
original and “authentic” copy of said evaluations. See Fed. R. Evid. 901. Plaintiff’s objections
based on Rules 404 and 901 are thus overruled.


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negative, combative, and disrespectful to her peers,” an attitude that led to a meeting

with her manager. (Id. ¶¶ 36–37.) Plaintiff’s manager suggested that Plaintiff take

certain training courses to help “improve her peer relationships and interpersonal

communications,” but Plaintiff did not take the suggested courses. (Id. ¶ 37.) Through

October and November 2015, Plaintiff appeared late or failed to appear at several

company events and meetings. (Id. ¶¶ 38–41.)

      Citing these incidents, Plaintiff’s manager issued Plaintiff a formal written

warning for her “very poor and inappropriate behavior, such as demonstrating a

combative attitude, lack of respect toward the job and leadership, and

insubordination.” (Id. ¶ 42.) At that time, Plaintiff’s manager and other supervisors

were not yet considering terminating Plaintiff’s employment. (Id. ¶ 44.) This

corrective action was instead meant to inform Plaintiff that her behavior was

unacceptable and to give Plaintiff time to correct it, in accordance with Defendant’s

progressive corrective action policy. (Dkt. 102 ¶ 92.) Plaintiff’s supervisor testified

that he did not immediately present this corrective action to Plaintiff because

Plaintiff was on vacation. (Id. ¶ 90.) Plaintiff’s supervisor intended to present the

disciplinary action to Plaintiff on the day she returned from vacation, but opted not

to do so based on Plaintiff’s behavior during a fateful customer call that occurred on

the day Plaintiff returned from vacation. (Id.)

      Plaintiff was terminated following that November 30, 2015 customer call. As

the record reflects, Plaintiff and a customer were speaking over the phone about a

billing issue. (Dkt. 91 ¶ 45.) Several of Plaintiff’s coworkers overheard the phone call




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and testified that Plaintiff’s attitude during the call was very disrespectful and rude.

One coworker testified that he had “never heard any employee speak to a Comcast

customer in as inappropriate and disrespectful manner” as Plaintiff spoke during the

November 30 call. (Id. ¶ 46.) Multiple coworkers testified that they had overheard

Plaintiff mocking the customer’s accent, stating that she did not have time for the

customer’s call, and giving the customer a countdown to end the call. (Id. ¶¶ 47–48.)

Another coworker who overheard the call testified that Plaintiff was “irritated,

impatient, and raised her voice” with the customer. (Id. ¶ 49.) Plaintiff viewed the

call as “normal and “successful.” (Id. ¶ 51.)

      After Plaintiff ended the phone call, Plaintiff’s supervisor, Eric Asante,

immediately met with Plaintiff (Id. ¶ 50.) Asante had also overheard the phone call,

and he felt that Plaintiff “was very loud with the customer” and made “rude,

combative and disrespectful” statements to the customer. (Id. ¶ 46.) Asante thus

scheduled a meeting with Plaintiff to discuss her “loud, inappropriate, and

disrespectful” treatment of the customer. (Id. ¶ 50.) Asante then reported Plaintiff to

Defendant’s Human Resources department. (Id. ¶ 51.) Human Resources spoke to the

several coworkers who had overheard Plaintiff’s phone call, all of whom stated that

they believed Plaintiff’s behavior was “inappropriate” and “one of the most egregious

violations of the [Handbook]” they had encountered. (Id. ¶¶ 53–57.) A day after the

November 30 call, Asante also contacted the customer who Plaintiff had spoken to,

apologizing for Plaintiff’s conduct on the call. (Id. ¶ 52.) The customer stated that she




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felt that Plaintiff had disrespected her on the call and discriminated against her

because she was a “foreigner.” (Id.)

      Plaintiff met with a Human Resources representative and Asante on December

4, 2015 to discuss the November 30 phone call. (Id. ¶ 58.) During this meeting,

Plaintiff was “combative,” “defensive,” “uncooperative,” “loud,” “disruptive,” and

“started yelling.” (Id. ¶ 59.) But by the end of the meeting, Plaintiff understood that

her supervisors believed that her handling of the November 30 phone call was

inappropriate. (Id. ¶ 58.) At the conclusion of the meeting, Plaintiff was placed on

administrative leave. (Id. ¶ 59.) On December 7, 2015, Plaintiff was terminated. (Id.

¶ 60.) Defendant states that Plaintiff was terminated “solely because of her

inappropriate conduct during the November 30, 2015 customer call and her other

inappropriate and insubordinate behavior.” (Id. ¶ 62.)

      C.     Plaintiff’s Discrimination Allegations.

      Plaintiff alleges that Defendant terminated her, not because of the alleged

misconduct, but because of her age and race. (Dkt. 92.) Plaintiff cites several facts in

support of her claims. In 2007, according to Plaintiff, a coworker told her that she

“doesn’t sound like a black person.” (Dkt. 91 ¶ 63.) In 2008, another coworker told

Plaintiff that she was a “different kind of black person . . . contrary to the derogatory

stereotype of African-American families” and that “management didn’t like [Plaintiff]

because she was black.” (Id. ¶ 64.) In 2012, a manager decided to assign a project to

a “white, young male” employee instead of Plaintiff. (Id. ¶ 66.) In 2014, one coworker

told Plaintiff that the skirt Plaintiff was wearing was “a little short for your age,” and




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another coworker asked how old Plaintiff was. (Id. ¶¶ 70, 71.) Plaintiff’s supervisors

testified that they do not recall Plaintiff filing any complaint of discrimination. (Id.

¶¶ 74, 77, 80.)

      Plaintiff disputes this, arguing that she formally complained about

discrimination to Human Recourses in 2012 and 2013. (Dkt. 102 ¶ 82.) But Plaintiff

also admits that these “formal” complaints were phone calls Plaintiff made to

Defendant’s helpline after Plaintiff received verbal and written warnings from her

supervisors. (Id.) Plaintiff states that she intended to report race and sex

discrimination during these helpline calls. (Id.) Summaries of these phone calls do

not record any allegation that Plaintiff believed she was being discriminated against,

and Defendant recorded the phone call complaints as “Unfair Treatment (Not

Discrimination).” (Id.) Plaintiff filed a charge of race and age discrimination with the

Equal Employment Opportunity Commission (“EEOC”) on April 7, 2016. (Id. ¶ 18;

Dkt. 1-1.)

      D.     Procedural Background.

      On August 30, 2017, Plaintiff filed a three-count Complaint against Defendant

alleging (1) violation of Title VII of the Civil Rights Act of 1964 (“Title VII”);

(2) violation of the Age Discrimination in Employment Act (“ADEA”); and

(3) retaliation. (Dkt. 1.) Plaintiff alleges that Defendant discriminated against

Plaintiff on the basis of her race and age, and that Defendant unlawfully terminated

Plaintiff’s employment in retaliation for Plaintiff reporting unlawful conduct. (Id.)

Defendant did not seek to dismiss the complaint, and the parties engaged in




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discovery. (See Dkt. 37–65.) Following the close of discovery, Defendant moved for

summary judgment and filed a corresponding Local Rule 56.1 statement of material

facts. (Dkt. 81; 82.) Plaintiff filed an opposition brief to the motion for summary

judgment as well as a Rule 56.1 statement of material facts. (Dkt. 91; 92.)

II.    STANDARD OF REVIEW

       Summary judgment is warranted only if “the pleadings, depositions, answers

to interrogatories, and admissions on file, together with the affidavits, if any, show

that there is no genuine issue as to any material fact and that the moving party is

entitled to a judgment as a matter of law.” Jewett v. Anders, 521 F.3d 818, 821 (7th

Cir. 2008) (quoting Magin v. Monsanto Co., 420 F.3d 679, 686 (7th Cir. 2005)); see

also Fed. R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322−23 (1986). Rule

56(c) “mandates the entry of summary judgment, after adequate time for discovery

and upon motion, against a party who fails to make a showing sufficient to establish

the existence of an element essential to that party’s case, and on which that party

will bear the burden of proof at trial.” Celotex Corp., 477 U.S. at 322. As the “ ‘put up

or shut up’ moment in a lawsuit, summary judgment requires a non-moving party to

respond to the moving party’s properly supported motion by identifying specific,

admissible evidence showing that there is a genuine dispute of material fact for trial.”

Grant v. Trs. of Ind. Univ., 870 F.3d 562, 568 (7th Cir. 2017) (quotations omitted).

III.   DISCUSSION

       Plaintiff   alleges   that   Defendant   terminated     her   employment      and

discriminated against Plaintiff based on her race and age in violation of Title VII and




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the ADEA (Counts I and II). 3 Plaintiff further alleges that Defendant retaliated

against her for engaging in protected activity, also in violation of Title VII and the

ADEA (Count III).

       A.     Defendant’s Statute of Limitations Argument.

        Defendant first argues in its motion for summary judgment that Plaintiff’s

claims are time-barred because Plaintiff did not timely file an EEOC complaint. (Dkt.

82 at 5.) A plaintiff “who asserts Title VII and AEA claims has 300 days from the

alleged discriminatory or retaliatory act to file a timely charge of discrimination with

the EEOC.” Chatman v. Bd. of Educ. of City of Chi., 5 F.4th 738, 744 (7th Cir. 2021)

(citing 42 U.S.C. § 2000e-5(e)(1); 29 U.S.C. § 626(d)(1)(B)). Plaintiff filed an EEOC

charge on April 7, 2016. (Dkt. 1-1.) Plaintiff’s alleged discriminatory or retaliatory act

thus must have happened on or after June 12, 2015—300 days before April 7, 2016.

       Defendant argues that the verbal and written warnings it issued to Plaintiff

happened between March 2012 and February 2015, all of which occurred before the

start of the 300-day period. (Dkt. 82 at 5.) Defendant explains that, even if those

warnings were timely, they did not lead to any job consequences, so they cannot be

“considered actionable adverse employment actions.” (Id.) See Grube v. Lau Indus.,

Inc., 257 F.3d 723, 729 (7th Cir. 2001) (“[U]nfair reprimands or negative performance




   3 To the extent Plaintiff has attempted to assert a hostile work environment claim under

Title VII or the ADEA, the claim fails because Plaintiff has not responded to Defendant’s
argument relating to a hostile work environment claim. (Dkt. 101 at 4.) See Hernandez v.
Rhee, No. 18-cv-07647, 2021 WL 3408510, at *8 (N.D. Ill. Aug. 4, 2021) (citing Bonte v. U.S.
Bank, N.A., 624 F.3d 461, 466 (7th Cir. 2010)) (a “failure to respond . . . results in waiver”).


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evaluations, unaccompanied by some tangible job consequence, do not constitute

adverse employment actions.”).

      But the parties agree that Defendant terminated Plaintiff’s employment on or

about December 7, 2015. (See Dkt. 91 ¶¶ 60–62.) Termination of employment is

considered a materially adverse employment action for purposes of discrimination

and retaliation claims. See Duncan v. Thorek Mem’l Hosp., 784 F. Supp. 2d 910, 919

(N.D. Ill. Mar. 21, 2011). Plaintiff’s termination was within the 300-day statute of

limitations for Plaintiff’s EEOC discrimination claims. In other words, Plaintiff’s

adverse employment action happened on or after June 12, 2015. Accordingly, because

the evidence shows that Plaintiff suffered an adverse employment action and filed an

EEOC charge within the 300-day statute of limitations, Plaintiff’s claims are not

time-barred.

      B.       Title VII and ADEA Race and Age Discrimination Claims.

      Plaintiff contends that Defendant committed race and age discrimination in

violation of Title VII and the ADEA based on her identity as a Black woman over

forty years old. Defendant argues that it is entitled to summary judgment on

Plaintiff’s Title VII and ADEA discrimination claims because the undisputed

material facts demonstrate that Plaintiff cannot establish a prima facie case of

discrimination, nor can Plaintiff show that Defendant’s decision to terminate Plaintiff

were pretextual. (Id. at 6–11.) Because Plaintiff’s race and sex discrimination claims

arise from the same set of facts, they will be addressed together.




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             1.     Legal Standard.

      Title VII makes it unlawful for an employer “to fail or refuse to hire or

discharge any individual, or otherwise to discrimination against any individual with

respect to his compensation, terms, conditions, or privileges of employment, because

of such individual’s race, color, religion, sex, or national origin.” 42 U.S.C. § 2000e-

2(a)(1). Similarly, the ADEA makes it unlawful for an employer “to fail or refuse to

hire or to discharge any individual or otherwise discriminate against any individual

with respect to his compensation, terms, conditions, or privileges of employment,

because of such individual’s age.” 29 U.S.C.§ 623(a)(1). The ADEA “protects workers

40 years of age and older from age-based employment discrimination.” Wrolstad v.

Cuna Mut. Ins. Soc’y, 911 F.3d 450, 454 (7th Cir. 2018).

      A plaintiff can prove a Title VII or ADEA discrimination claim either through

the burden-shifting framework established by McDonnell Douglas Corp. v. Green, 411

U.S. 792 (1973), or in a “holistic fashion” under Ortiz v. Werner Enters., Inc., 834 F.3d

760, 765 (7th Cir. 2016). Under either approach, the Court must look at the record as

a whole, and the “critical question is whether the plaintiff has produced enough

evidence to permit a reasonable factfinder to conclude that the plaintiff’s race, [age,]

or other proscribed factor caused the adverse employment action. Chatman, 5 F.4th

at 746; Baraona v. Vill. of Niles, 720 F. Supp. 3d 601, 614 (N.D. Ill. Mar. 8, 2024).

Both of these approaches are addressed below.




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             2.     McDonnell Douglas Test.

      Under the McDonnell Douglas burden-shifting approach, the plaintiff is first

required to make a prima facie case of discrimination: (1) plaintiff belongs to a

protected class; (2) plaintiff met her employer’s legitimate expectations; (3) plaintiff

suffered an adverse employment action; and (4) another similarly situated employee

out of the protected class received better treatment from the employer. Igasaki v. Ill.

Dep’t of Fin. & Pro. Regul., 988 F.3d 948, 957 (7th Cir. 2021) (quoting Marshal v. Ind.

Dep’t of Corr., 973 F.3d 789, 791–92 (7th Cir. 2020)). If the plaintiff makes this

showing, the burden shifts to the employer to offer a nondiscriminatory motive. Id.

(quoting Purtue v. Wis. Dep’t of Corr., 963 F.3d 598, 602 (7th Cir. 2020)). If the

employer does so, the burden shifts back to the plaintiff to show that the employer’s

stated reason was a pretext. Id. (quoting Purtue, 963 F.3d at 602).

      Plaintiff cannot establish a prima facie case of race of age discrimination. As

to the first element of a prima facie case, the parties agree that, at all relevant times,

Plaintiff, as a Black woman over the age of 40, was a member of classes that are

protected by Title VII and the ADEA. It is also undisputed that Plaintiff suffered an

adverse employment action (her termination). But the parties disagree as to whether

Plaintiff was (1) meeting legitimate performance expectations; and (2) treated worse

than similarly situated employees.

      Plaintiff’s age and race discrimination claims both fail under the McDonnell

Douglas framework. To begin, Plaintiff has not raised a genuine dispute of material

fact concerning her failure to meet Defendant’s legitimate expectations. As the




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undisputed evidence shows, Plaintiff struggled with poor attendance, disruptive

behavior, and disrespectful and insubordinate communications in the final years of

her employment with Defendant. This behavior led to several written and verbal

warnings, meetings with supervisors, and coaching memoranda. These incidents

culminated    in   Plaintiff’s   termination    after   Plaintiff   treated   a   customer

disrespectfully during a telephone call. Several of Plaintiff’s coworkers, including

Plaintiff’s supervisor at the time, overheard Plaintiff’s interactions on that call and

testified that Plaintiff was disrespectful, rude, and inappropriate. Plaintiff’s behavior

during that interaction, along with the other various behavioral incidents described

above, show that Plaintiff was not meeting Defendant’s legitimate expectations.

      Plaintiff’s disagreement with Defendant’s assessment of her job performance

is insufficient to create a legitimate issue of fact. Simple disagreement with negative

evaluations does not mean that Plaintiff’s termination was a result of unlawful

discrimination. See Dickerson v. Bd. of Trs. of Cmty. Coll. Dist. No. 522, 657 F.3d 595,

603 (7th Cir. 2011). As the Seventh Circuit has repeatedly held, a federal court is “not

a super-personnel department that [can] substitute [its] criteria for an employer’s for

hiring, promoting, or disciplining employees.” Joll v. Valparaiso Cmty. Sch., 953 F.3d

923, 933 (7th Cir. 2020). Determining whether an employee is meeting an employer’s

legitimate expectations thus “mandates looking at [the employee’s] job performance

through the eyes of her supervisors at the time of her termination.” Gates v.

Caterpillar, Inc., 513 F.3d 680, 689 (7th Cir. 2008); see also Harper v. C.R. Eng., Inc.,

687 F.3d 297, 310 (7th Cir. 2012); Brian J. Murphy v. Caterpillar Inc., No. 21-cv-1282,




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2024 WL 520020, at *10 (N.D. Ill. Feb. 9, 2024). Whether the supervisor’s

performance ratings were right is not the question, but instead “whether the

employer’s description of its reasons were honest.” Khungar v. Access Cmty. Health

Network, 985 F.3d 565, 574 (7th Cir. 2021) (quoting Gustovich v. AT & T Commc’ns,

Inc., 972 F.2d 845, 848 (7th Cir. 1992)). As the undisputed evidence shows through

the eyes of Plaintiff’s supervisor at the time of her termination, Plaintiff was not

meeting the supervisor’s legitimate expectations.

       Plaintiff maintains that a reasonable jury could still find that she was meeting

Defendant’s legitimate expectations because Defendant did not act honestly. (See Dkt.

92 at 10–14.) Plaintiff first argues that Defendant did not honestly believe Plaintiff

acted inappropriately during the November 30 call because one of Plaintiff’s

coworkers, who “sat directly across from Plaintiff during the entire call,” testified that

Plaintiff spoke in an “elevated tone” during the call and was not screaming at anyone.

(Id. at 11.) Plaintiff also argues that Defendant did not honestly believe Plaintiff

should be fired because Defendant did not immediately decide to terminate Plaintiff

and because Defendant deviated from its standard disciplinary policies. (Id. at 12–

13.)

       Plaintiff presents no evidence of this purported dishonesty. At best, Plaintiff

presents evidence of inconsistencies in her coworker’s memory, and inconsistencies

in Defendant’s disciplinary proceedings. The undisputed evidence also shows that

this same coworker testified that Plaintiff’s tone during the November 30 call was

alarming, and her conduct was inappropriate and unprofessional. (See Dkt. 102




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¶¶ 97, 101–02.) Moreover, the undisputed evidence shows that Defendant sometimes

diverted from its standard disciplinary proceedings in special circumstances. These

inconsistencies do not suggest that Defendant acted dishonestly, nor do they suggest

a genuine issue of material fact as to Defendant’s decision to terminate Plaintiff.

Igasaki, 988 F.3d at 958 (“conclusory” statements alleging dishonesty must be

supported by evidence of dishonesty to defeat summary judgment).

      Plaintiff’s age and race discrimination claims also fail under the McDonnell

Douglas framework because Plaintiff did not identify a similarly situated employee

who received better treatment than her. A “similarly situated employee” “need not be

identically positioned” with the plaintiff, but must be “ ‘directly comparable’ to the

plaintiff ‘in all material respects.’ ” Id. (quoting Patterson v. Ind. Newspapers, Inc.,

589 F.3d 357, 365–66 (7th Cir. 2009)). Plaintiff points to no similarly situated

employee who received better treatment than did she. In fact, Plaintiff’s sole

argument in support of her position is that Defendant “could not identify a single

employee terminated for ‘behavior-related’ reasons like Plaintiff.” (Dkt. 92 at 15.) But

the burden to identify a similarly situated employee is Plaintiff’s, not Defendant’s,

and Plaintiff has not named a single employee who was a substantially younger non-

Black employee in a similar job position whom Defendant treated more favorably.

This dearth of evidence makes it “functionally impossible” for the Court to engage in

the similarly-situated inquiry. See Igasaki, 988 F.3d at 958.

      Because Plaintiff was not meeting Defendant’s legitimate expectations, and

because Plaintiff cannot identify a similarly-situated employee who was treated more




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favorably, Plaintiff fails to assert a prima facie case for age and sex discrimination

under the McDonnell Douglas framework.

             3.     Ortiz Test.

      Plaintiff’s case also fails under the Ortiz test. Ortiz requires the Court to look

at the totality of the evidence holistically, “eschewing any framework or formula,” to

determine whether that evidence shows discrimination. Igasaki, 988 F.3d at 958

(quoting Ortiz, 834 F.3d at 765); see also Igasaki v. Ill. Dep’t of Fin. & Prof. Regul.,

No. 15-cv-03693, 2018 WL 4699791, at *5 (N.D. Ill. Sept. 30, 2018) (a plaintiff “may

still be able to defeat summary judgment if the evidence, viewed as a whole, would

allow a reasonable juror to conclude that his [protected characteristic] caused his

termination”); Arnold v. United Airlines, Inc., No. 22 C 405, 2024 WL 2938843, at *8

(N.D. Ill. June 11, 2024) (“Under the holistic approach established in Ortiz, the

evidence is viewed in the aggregate to determine whether it allows an inference of

prohibited discrimination.”).

      Plaintiff presents a handful of incidents to support her claim that she was

“repeatedly subjected to derogatory remarks about her sex, race and age by colleagues

and supervisors.” (Dkt. 92 at 3.) Plaintiff states that she reported to Defendant’s

Human Resources department that “she was being subjected to unlawful

discriminatory treatment based on her sex, race and age.” (Id.) These allegedly

discriminatory remarks were made intermittently between 2007 and 2015. (See Dkt.

91 ¶¶ 63–80.) Plaintiff contends that these remarks are enough to show that

Defendant terminated her because of her race and age. They are not. Even when




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viewed in the light most favorable to Plaintiff, the evidence does not show that

Plaintiff’s race or age played a role in Plaintiff’s termination; said another way,

Plaintiff does not connect her termination to the alleged “derogatory remarks” about

her age and race. Plaintiff has thus “put forward no evidence suggesting that

[Defendant] . . . harbors any prejudice” toward Plaintiff because of her race or age.

See Igasaki, 2018 WL 4699791, at *5.

      In contrast, Defendant has put forth extensive undisputed evidence showing

that it terminated Plaintiff for legitimate, non-discriminatory reasons—namely,

Plaintiff’s negative performance reviews, history of corrective actions, and

unprofessional treatment of a customer during the November 30, 2015 phone call.

Accordingly, after considering the totality of the evidence, the Court finds under Ortiz

that no reasonable jury could have found that Defendant discriminated against

Plaintiff based on her race or age.

                             *             *            *

      Plaintiff has failed to carry her burden to show that her race or age played a

role in her termination. On the contrary, the evidence shows that Defendant fired

Plaintiff for reasons based solely on Plaintiff’s poor performance. Accordingly,

Defendant’s motion for summary judgment is granted as to Plaintiff’s Title VII and

ADEA discrimination claims.

      C.     Retaliation Claim.

      In Count III, Plaintiff argues that she was “subjected to unlawful employment

actions in retaliation for engaging in protected activity by, among other things,




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reporting and/or opposing unlawful work conduct.” (Dkt. 1 ¶ 39.) Defendant also

moves for summary judgment on this Count.

      Title VII prohibits retaliation against employees who engage in protected

activity, such as filing a charge under Title VII or opposing an unlawful employment

practice. 42 U.S.C. § 2000e-3(a); Baraona, 720 F. Supp. 3d at 625. Similarly, the

ADEA prohibits employers from retaliating against an employee who complains of

discrimination. 29 U.S.C.§ 623(d); Brian J. Murphy, 2024 WL 520020, at *16. To

succeed on a retaliation claim, Plaintiff must produce evidence to allow a reasonable

jury to conclude that (1) she engaged in a protected activity; (2) she suffered an

adverse employment action; and (3) there was a but-for causal connection between

the two. See Chatman, 5 F.4th at 748 (Title VII); Kotaska v. Fed. Express Corp., 966

F.3d 624, 632 (7th Cir. 2020) (ADEA).

      Plaintiff argues that she engaged in the protected activity of “reporting that

she believed she was subjected to discrimination based on her race, sex and age.”

(Dkt. 92 at 14; Dkt. 102 ¶ 82.) Plaintiff is apparently referring to the complaints she

made to Defendant’s hotline in 2012 and 2013: complaints Defendant recorded as

“Unfair Treatment (Not Discrimination).” (Dkt. 102 ¶ 82.) Plaintiff alleges that she

was terminated because she made these complaints. (Dkt. 92 at 14.) Plaintiff supports

this position by citing one occasion in which one of Plaintiff’s managers told Plaintiff

to “Stay out of HR.” (Id.; Dkt. 91 ¶ 77.)

      But even when the Court draws all reasonable inferences in Plaintiff’s favor,

it cannot hold that a reasonable jury would conclude that Plaintiff’s complaints were




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the but-for cause of her termination. Plaintiff’s “wholly undeveloped” argument fails

to put forth sufficient evidence establishing that link. See Baraona, 720 F. Supp. 3d

at 626. To start, Plaintiff filed these complaints years before Plaintiff was terminated.

See Alamo v. Bliss, 864 F.3d 541, 556 (7th Cir. 2017) (an inference of retaliation “can

be weakened by a lengthy time period between the protected activity and the alleged

retaliation”). In addition, the undisputed facts show that the manager who allegedly

told Plaintiff to “stay out of HR” was not aware of Plaintiff’s complaints; this manager

could not have possibly made that statement in retaliation for Plaintiff’s complaints.

(See Dkt. 91 ¶ 77.) Finally, the record reflects that Plaintiff’s poor job performance,

in particular her conduct on the November 30 phone call, directly prompted

Defendant to terminate Plaintiff’s employment. No reasonable jury could be

convinced that Plaintiff was terminated in retaliation for making complaints.

Accordingly, Defendant is entitled to summary judgment on Plaintiff’s retaliation

claim.

IV.      CONCLUSION

         Defendant’s motion for summary judgment is granted.

SO ORDERED in No. 17-cv-06295.

Date: March 31, 2025
                                                JOHN F. KNESS
                                                United States District Judge




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